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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 TRUE THE VOTE, INC.,

                                              Plaintiff,

    v.                                                     Civ. No. 13-cv-00734-RBW

 INTERNAL REVENUE SERVICE, et al.,


                                           Defendants.


                          NOTICE OF STATE COURT CASE

         On January 28, 2021, Plaintiff’s Former Attorneys requested leave to file a supplemental

brief regarding Plaintiff’s motion to quash. ECF No. 202. In the reply to their motion for leave,

ECF No. 205, Plaintiff’s Former Attorneys notified the Court of a lawsuit filed in Texas state

court. Eshelman v. True the Vote, Inc, et al., No. 2021V-0015 (District Court of Texas, 155th

Judicial District, Austin County, filed February 1, 2021). Plaintiff’s Former Attorneys

respectfully notify the Court that the above-mentioned case has been dismissed. Plaintiff’s

Former Attorneys will notify the Court of any further relevant case developments.



Dated: May 12, 2021




        /s/ Kaylan L. Phillips
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                            CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing document to be filed with the United States

District Court for the District of Columbia via the Court’s CM/ECF system.




Dated: May 12, 2021
                                                     /s/ Kaylan L. Phillips
                                                   Kaylan Phillips
                                                   kphillips@publicinterestlegal.org




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